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HONORABLE NANCY F. ATLAS PRESIDING
CASE MANAGER SHELIA ASHABRANNER                                      ERO: Yes
LAW CLERK _____________________________                              USPO CYNTHIA REYES
INTERPRETER

TIME HELD: 11:25 a.m. - 2:30 p.m.                                                   Date: September 12, 2018


                                            CR. NO. 17-431 Deft. No. 01

UNITED STATES OF AMERICA                                    §        Kimberly Leo                              AUSA
vs.                                                         §
                                                            §
STEPHEN P. LYNCH                                            §        Charles Flood                         RETAINED


                                                     SENTENCING

 X     Sentencing held. Guilty Plea on 6/6/2018 Count(s) 1 and 2

 X     SENTENCE: 360 months as to Count 1, and 60 months as to Count 2, to be served consecutively, for a
       total term of 420 months custody; 15 year SRT, as to both counts 1 and 2, to run concurrently; no fine.
       Restitution in the amount of (to be determined within 90 days). Court recommend Defendant be placed
       in the Seagalville facility. Court recommends sex offender counseling while in custody.

 X     $ 200.00 special assessment on count 1 and 2

               Standard Conditions of Supervised Release plus the following (if marked):

  X      You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. §
16901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency
in which you reside, work, are a student, or were convicted of a qualifying offense.
   X You must not have direct contact with any child you know or reasonably should know to be under the age of 18,
including your own children, without the permission of the probation officer. If you do have any direct contact with
any child you know or reasonably should know to be under the age of 18, including your own children, without the
permission of the probation officer, you must report this contact to the probation officer within 24 hours. Direct
contact
includes written communication, in-person communication, or physical contact. Direct contact does not include
incidental contact during ordinary daily activities in public places.
  X You must not view or possess any visual depiction (as defined in 18 U.S.C. § 2256), including any photograph,
film, video, picture, or computer or computer- generated image or picture, whether made or produced by electronic,
mechanical, or other means, of sexually explicit conduct (as defined in 18 U.S.C. § 2256).
   X You must submit to periodic polygraph testing at the discretion of the probation officer as a means to ensure
that you are in compliance with the requirements of your supervision or treatment program.
   X You must not access the Internet except for reasons approved in advance by the probation officer.
   X To ensure compliance with the computer monitoring condition, you must allow the probation officer to conduct
initial and periodic unannounced searches of any computers (as defined in 18 U.S.C. § 1030(e)(1)) subject to computer
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monitoring. These searches shall be conducted for the purposes of determining whether the computer contains any
prohibited data prior to installation of the monitoring software; to determine whether the monitoring software is
functioning effectively after its installation; and to determine whether there have been attempts to circumvent
the monitoring software after its installation. You must warn any other people who use these computers that the
computers may be subject to searches pursuant to this condition.
  X You must participate in a mental health treatment program and/or sex offender treatment program provided by a
Registered Sex Offender Treatment Provider, which may include but not be limited to group and/or individual
counseling sessions, Abel Screen, polygraph testing and/or psycho-physiological testing to assist in treatment and case
monitoring administered by the sex offender contractor or their designee. Further, you must participate as instructed
and will abide by all policies and procedures of the sex offender program, until such time as you are released
from the program. The probation officer, in consultation with the treatment provider, will supervise your participation
in the program, including the provider, location, modality, duration, and intensity. You will incur costs associated with
such sex offender treatment program and testing, based on ability to pay as determined by the United States Probation
Officer. You shall waive your right of confidentiality in any records for mental health treatment imposed as a
consequence of this judgment to allow the supervising United States Probation Officer to review your course of
treatment and progress with the treatment provider. If requested by the mental health provider, the Court authorizes the
United States Probation Officer to provide pertinent information from the presentence investigation report and any
information available from mental health evaluations that are in the possession of the probation officer.
  X You must not subscribe to any computer online service, nor shall you access any Internet service during the
length of your supervision, unless approved in advance in writing by the United States Probation Officer. You may not
possess Internet capable software on any hard drive, disk, floppy disk, compact, disk, DVD, diskette, magnetic tape, or
any other electronic storage media, unless specifically approved in advance in writing by the United States Probation
Officer.
  X You must have no contact with the victim, or the victim's family, including letters, communication devices,
audio or visual devices, visits, or any contact through a third party, without prior written consent of the United States
Probation Officer.

 X     WRITTEN NOTICE TO DEFT REGARDING APPEAL RIGHTS

OTHER PROCEEDINGS: Court adopts the PSR. The following are made a part of this record (if checked):
 X PSR X Revised PSR X                    Addendum to PSR          Second Addendum to PSR
 X Sentencing Recommendation.
 X Objections to PSR by Defendant [Doc. #51]
 X Government’s response to objections [Doc. # 56]
 X Defendant’s Reply to Response [Doc. # 57]
 X Statement of No Objections to PSR by Government [Doc. # 48].
 X Other: Defendant’s Sentencing Information Packet [Doc. #58]. Government to provide informtion
within 60 days of the amount of restitution that it will be seeking.
